
AYRES, Judge.
Appellant made no appearance either in person or through counsel when this case was called for argument. Inasmuch as he failed to appear or to file a brief in support of his case, it is presumed that the appeal has been abandoned and it will, accordingly, be dismissed. Falcon v. Falcon, 224 La. 938, 71 So.2d 334; Peace v. Love, 223 La. 772, 66 So.2d 803, and authorities therein cited; Normand v. Avoyelles Parish School Board, La.App., 11 So.2d 713; Johnson v. Montgomery, La.App., 84 So.2d 213.
Therefore, the appeal is dismissed at appellant’s costs.
Appeal dismissed.
